5/19/2021              Case: 1:21-cv-00101-MPM-RP Doc #: 1-3- Fwd:
                                                      Gmail    Filed:  06/18/21 1 of 4 PageID #: 13
                                                                   Termination



                                                                                    Sharon Smith <s.smith5683awy@gmail.com>



  Fwd: Termination
  2 messages

  Derek Hunt <dhunt8082@gmail.com>                                                                     Tue, May 18, 2021 at 5:08 PM
  To: "sharon@joeldillard.com" <sharon@joeldillard.com>



    ---------- Forwarded message ---------
    From: Derek Hunt <dhunt8082@gmail.com>
    Date: Wed, Jul 31, 2019 at 2:12 AM
    Subject: Re: Termination
    To: Corey, Leslie <lcorey@hrm.msstate.edu>




    On Fri, Jul 26, 2019 at 1:13 PM Derek Hunt <dhunt8082@gmail.com> wrote:
     I find it very disappointing, that I have been lead on, an fooled into thinking
     That u have been tryin to help me, it’s very unprofessional for u to have lied to me an tell me u see where I have an
     interview as a cheesemaker, knowing the hole time my name never came across their desk, are any other positions I
     applied for at state, all I wanted was a fair an honest chance, to get back home. Do u realize that I was denied donated
     leave time, in 2015 when I was 3 hours short, for being in hospital, with 22 stitches, when I asked Wayne about it he
     said I couldn’t get it, was my situation serious enough, I’d say so, because I sgined a form giveing the dr permission to
     give me blood, do u realize iv been charged 11 hours on an 8 hour day, an theirs more, all I’m asking is can we act like
     adults here, Can I have a chance for rehire. All I need is 3 more years,

      On Wed, Jul 17, 2019 at 4:27 PM Derek Hunt <dhunt8082@gmail.com> wrote:
       Ok, thank you.

            On Wed, Jul 17, 2019 at 4:15 PM Corey, Leslie <lcorey@hrm.msstate.edu> wrote:

              Derek,



              You can review your personnel file and Leslie Bolton can assist you with that. Her number is 325-3713 if you want
              to call and schedule at time to come by and review your file.

              Her office is in McArthur Hall.



              Leslie



              From: Derek Hunt <dhunt8082@gmail.com>
              Sent: Wednesday, July 17, 2019 4:02 PM
              To: Corey, Leslie <lcorey@hrm.msstate.edu>
              Subject: Re: Termination



              When can I see my personal records an get a copy,



              On Wed, Jul 17, 2019 at 3:24 PM Corey, Leslie <lcorey@hrm.msstate.edu> wrote:


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5/19/2021         Case: 1:21-cv-00101-MPM-RP Doc #: 1-3- Fwd:
                                                 Gmail    Filed:  06/18/21 2 of 4 PageID #: 14
                                                              Termination
              Hi Derek,



              You are not marked in the system as not eligible for rehire. I saw that you had an interview for the Cheesemaker
              position. Please continue to watch the employment site for opportunities.



              Leslie



              From: Derek Hunt <dhunt8082@gmail.com>
              Sent: Wednesday, July 17, 2019 11:46 AM
              To: Corey, Leslie <lcorey@hrm.msstate.edu>
              Subject: Re: Termination



              Mrs Lesley, I it seems that their is some kind of block, are a red flag of some sort, I’m being turnd down faster
              than I can apply, an is their any way I can have a copy are at least view my file.



              On Tue, Jul 9, 2019 at 2:08 PM Corey, Leslie <lcorey@hrm.msstate.edu> wrote:

                 Hi Derek,



                 The Building Maintenance Tech II position is posted for internal applicants. You are welcome to apply for any
                 position that is not for internal applicants.



                 Leslie



                 From: Derek Hunt <dhunt8082@gmail.com>
                 Sent: Tuesday, July 9, 2019 1:35 PM
                 To: Corey, Leslie <lcorey@hrm.msstate.edu>
                 Subject: Re: Termination



                 Hello, mrs Lesley, would it be to much to ask if I could apply for my job that has come open, I really miss my
                 job, every day that goes by I miss it more an more, could this be taken in consideration, pretty please.



                 On Fri, Jun 28, 2019 at 9:40 AM Corey, Leslie <lcorey@hrm.msstate.edu> wrote:

                    Mr. Hunt,



                    You can apply for any open job on campus.



                    Thank you,

                    Leslie




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5/19/2021         Case: 1:21-cv-00101-MPM-RP Doc #: 1-3- Fwd:
                                                 Gmail    Filed:  06/18/21 3 of 4 PageID #: 15
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                    From: Derek Hunt <dhunt8082@gmail.com>
                    Sent: Thursday, June 27, 2019 11:42 AM
                    To: Corey, Leslie <lcorey@hrm.msstate.edu>
                    Subject: Re: Termination



                    Mrs. Lesley I’m sorry to bother u, but I have a complaint, I lost my job due to absence, theirs a guy named
                    Doug dumas, on the hevey equipment qrew they were having the same problems with, When he was
                    confronted about this he threw his keys on the desk an said he quit, an walked out, 2weeks later he’s back
                    at work, now Doug is a good friend of mine, I don’t want to cause any trouble for him, are anyone else,his
                    Forman says sometime he never knows if Doug is comein in are not, this is sometimes why I’m helping
                    them pour concrete,this just isn’t right, an I’m sorry your being brothered by this hole deal that I wished had
                    never happen, but my job is the biggest thing in my life, doesn’t a person have the right to fight for their
                    job, is their not an adviser I could talk with, can I reapply for my job, can someone talk with Tommy, i just
                    feel like he is against me, please.



                    On Wed, Jun 26, 2019 at 11:05 AM Corey, Leslie <lcorey@hrm.msstate.edu> wrote:

                       Thank you, Derek. Have a good day.



                       From: Derek Hunt <dhunt8082@gmail.com>
                       Sent: Wednesday, June 26, 2019 10:57 AM
                       To: Corey, Leslie <lcorey@hrm.msstate.edu>
                       Subject: Re: Termination



                       Good morning mrs, Corey, I would like to thank u an mrs tuck for allowing me to resign. It has given me
                       a since of easement, it’s helped free my mind an heal my hart, an for that i thank u both, it’s been an
                       honor to receive my 15th an 20th year certificate, at Mississippi state, it would be a blessing an a dream
                       come true to receive my 25th, I hope u have a wonderful day.



                       On Tue, Jun 25, 2019 at 8:28 AM Derek Hunt <dhunt8082@gmail.com> wrote:




                          On Mon, Jun 24, 2019 at 4:03 PM Corey, Leslie <lcorey@hrm.msstate.edu> wrote:

                            Mr. Hunt,


                            Amy Tuck forwarded me your email to her to respond. Because of a continued
                            violation of the departmental/university time and attendance policy over a number of
                            years, (HRM policy 60.401), the University will not be able to allow you to continue
                            your employment. We will, however, allow you to resign your position rather than be
                            terminated. By resigning, you will be allowed to apply for other jobs at the University
                            in the future. Please let me know as soon as possible if you would like to resign rather
                            than continue as terminated.


                            Thank you,
                            Leslie

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                                                                Termination




                            Leslie M. Corey, PHR-CP
                            Senior Human Resources Generalist
                            Box 9603
                            Ms. State, MS 39762
                            Phone: 662-325-2228 Fax: 662-325-8395
                            lcorey@hrm.msstate.edu




  Derek Hunt <dhunt8082@gmail.com>                                                                     Tue, May 18, 2021 at 5:11 PM
  To: "sharon@joeldillard.com" <sharon@joeldillard.com>

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